Name and Case
         address:2:21-cv-08230-JAK-E Document 16 Filed 10/20/21 Page 1 of 5 Page ID #:188
 Alex G. Patchen
 LISTON ABRAMSON LLP
 The Chrysler Building
 405 Lexington Avenue, 46th Floor
 New York, NY 10174
                                              UNITED STATES DISTRI�:ICOURT
                                             CENTRAL DISTRICT OF C�IFORNIA

 WAG ACQUISITION L.L.C.,                                                   CASE NU�BER
                                                         Plaintiff(s),                         2:21-cv- 08230-JAK-E
                 v.
 THEWALT DISNEY COMPANY and                                                  APPLIGATION OF NON-RESIDENT ATTORNEY
 DISNEY STREAMING SERVICES LLC,                                                    ifO APPEAR IN A SPECIFIC CASE
                                                       Defendant(s),                       PROHACVICE
INSTRUCTIONS FOR APPLICANTS                                                        I
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTR@NIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will bei grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachryent(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the <Eourt's electronic filing system (''Motions and Related
    Filings=> Applications/Ex Parte Applications/Motions/Petitions/Requests=> Appear Pro Hae Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time offiling (using a credit
    card). The fee is required for each case in which the applicant files an Applicati+. Failure to pay the fee at the time offiling will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applyin}for pro hac vice status. See L.R. 83-2.1 .4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
  Patchen, Alex G.
Applicant's Name (Last Name, First Name & Middle Initial)                                         check here iffederal government attorney □
- Liston Abramson LLP
Firm/Agency Name
 The Chrysler Building                                                    (212) 257-1632                            (917) 633-5568
                                                                                      I

   405 Lexington Avenue, 46th Floor                                      Telephone Nuinber                     Fax Number
Street Address
   New York, NY 10174
                                                                                alex.pltchen@listonabramson.com
City, State, Zip Code                                                                             E-mail Address

I have been retained to represent the following parties:
     WAG Acquisition L.L.C.                                              GI Plaintiff(s) D Defendant(s) D Other: ---------
                                                                         □ Plaintiff(s) 0 Defendant(s) 0 Other: ---------
Name(s) ofParty(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
                                                                                       I
her membership. Use Section IV if more room is needed, or to provide additional information.
                      Name ofCourt                       Date ofAdmission            A tive Member in Good Standing? (ifnot, please explain)
     Eastern District of New York                           8/22/2006                                        Yes
   Southern District of New York                           10/12/2004                                        Yes
    U.S. Court of Appeals, Second Circuit                  6/23/2009                                          Yes

G-64 (09/20)               APPLICATION OF NON-RESIDENT ATIORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                               Page 1 of3
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             Appellate Division of the Supreme Court
                       of the State of New York
                      First Judicial Department


       I, Susanna M. Rojas, Clerk of the Appellate Division of the
 Supreme Court of the State of New York, First Judicial
 Department, do hereby certify that

                        Alex Gregg Patchen
 was duly licensed and admitted to practice as an Attorney and
 Counselor at Law in all the courts of this State on June 28, 2004,
 has duly taken and subscribed the oath of office prescribed by law,
 has been enrolled in the Roll of Attorneys and Counselors at Law
 on file in this office, is duly registered with the Administration
 Office of the Courts, and according to the records of this Court is
 currently in good standing as an Attorney and Counselor-at-Law.



                               In Witness Whereof, I have hereunto set
                               my hand in the City of New York on
                               October 5, 2021.




                                          Clerk of the Court




 CertID-00034871
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                    Supreme Court of the State of New York
                     Appellate Division, First Department
                                              ROLANDO T. ACOSTA
                                                 PRESIDING JUSTICE
   SUSANNA MOLINA ROJAS                                                                 MARGARET SOWAH
       CLERK OF THE COURT                                                               DEPUTY CLERK OF THE COURT




 To Whom It May Concern


        An attorney admitted to practice by this Court may request a certificate of good
 standing, which is the only official document this Court issues certifying to an
 attorney's admission and good standing.


        An attorney's registration status, date of admission and disciplinary history may
 be viewed through the attorney search feature on the website of the Unified Court
 System.


        New York State does not register attorneys as active or inactive.


       An attorney may request a disciplinary history letter from the Attorney
 Grievance Committee of the First Judicial Department.


      Bar examination history is available from the New York State Board of Law
 Examiners.


        Instructions, forms and links are available on this Court's website.




                                                             Susanna Rojas
                                                             Clerk of the Court




 Revised October 2020



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